Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 1 of 47




           EXHIBIT 1
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 2 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 3 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 4 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 5 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 6 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 7 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 8 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 9 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 10 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 11 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 12 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 13 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 14 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 15 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 16 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 17 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 18 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 19 of 47
      Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 20 of 47




FOR PLAINTIFF DISTRICT OF COLUMBIA:

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        Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 21 of 47




              GOVERNMENT OF THE DISTRICT OF COLUMBIA
                     Office of the Attorney General

ATTORNEY GENERAL
KARL A. RACINE

Public Advocacy Division
Public Integrity Section

February 2, 2022

RE:     Common Interest and Joint Prosecution Agreement

         The following letter is to be considered an addendum to the Joint Prosecution Agreement
(the “Agreement”) entered into between Class Counsel for the Consumer Plaintiffs (“Class
Counsel”) in the case captioned In re Google Play Consumer Antitrust Litigation, No. 20-cv-
05761-JD (N.D. Cal.) (the “Consumer Class Action”) and the Office of the Attorney General for
the District of Columbia (the “District”) in the case captioned State of Utah et. al. v. Google LLC
et. al., No. 21-cv-05227-JD (the “State AG Action”) (collectively “the Parties”).* The Parties seek
to further clarify: (1) it is the Parties’ intent that the Agreement is to be considered and treated as
a Common Interest Agreement and/or an extension of any Common Interest Agreement already
signed by the Parties; (2) nothing in the Agreement would prevent DC from seeking fees based on
the totality of DC's work in this case.

FOR PLAINTIFF DISTRICT OF COLUMBIA:

KARL A. RACINE, Attorney General


/s/ Kathleen Konopka
KATHLEEN KONOPKA, Deputy Attorney General
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*
 The State AG Action and Consumer Class Action are among those consolidated for trial purposes
in In re Google Play Store Antitrust Litigation, No. 3:21-md-02981 (the “MDL,” and all above
actions, collectively, the “Litigation”).

      _____________________________________________________________________________________
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Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 22 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 23 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 24 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 25 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 26 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 27 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 28 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 29 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 30 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 31 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 32 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 33 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 34 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 35 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 36 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 37 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 38 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 39 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 40 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 41 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 42 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 43 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 44 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 45 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 46 of 47
Case 3:21-md-02981-JD Document 251-2 Filed 05/26/22 Page 47 of 47
